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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


 PHILLIP LEE; PAMELA WHITE;
 PATRICIA VANDUSEN; RONALD                         Case No. ______________
 ALLIX; and RANDY WELCH, individually
 and on behalf of all others similarly situated,   CLASS ACTION COMPLAINT
                                                   JURY TRIAL DEMANDED
                      Plaintiffs,
        v.

 BELVOIR MEDIA GROUP, LLC,

                      Defendant.

      Plaintiffs Phillip Lee (“Plaintiff Lee”), Pamela White (“Plaintiff White”), Patricia

VanDusen (“Plaintiff VanDusen”), Ronald Allix (“Plaintiff Allix”), and Randy Welch

(“Plaintiff Welch”) (collectively, “Plaintiffs”), individually and on behalf of all others

similarly situated, by and through their attorneys, make the following allegations

pursuant to the investigation of their counsel and based upon information and belief,

except as to allegations specifically pertaining to themselves and their counsel, which

are based on personal knowledge.

                                    INTRODUCTION

      1.       Defendant Belvoir Media Group, LLC (“Belvoir”) rented, exchanged,

and/or otherwise disclosed detailed information about Plaintiffs’ Belvoir magazine and

newsletter subscriptions to data aggregators, data appenders, data cooperatives, and list

brokers, among others, which in turn disclosed their information to aggressive
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advertisers, political organizations, and non-profit companies. As a result, Plaintiffs

have received a barrage of unwanted junk mail. By renting, exchanging, and/or

otherwise disclosing Plaintiffs’ Private Reading Information (defined below) during the

relevant pre-July 31, 2016 time period,1 Belvoir violated Michigan’s Preservation of

Personal Privacy Act, H.B. 5331, 84th Leg. Reg. Sess., P.A. No. 378, §§ 1-4 (Mich.

1988), id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1 (Mich. 1989)

(the “PPPA”). 2

        2.      Documented evidence confirms these facts. For example, a list broker,

NextMark, Inc. (“NextMark”), offers to provide renters access to the mailing list titled

“BELVOIR MEDIA GROUP ELITE MASTERFILE Mailing List”, which contains

the Private Reading Information of 736,793 of Belvoir’s active U.S. subscribers at a

base price of “$110.00/M [per thousand],” (i.e., 11 cents apiece), as shown in the

screenshot below:



1
        The statutory period for this action is six years. See M.C.L. § 600.5813.
2
        In May 2016, the Michigan legislature amended the PPPA. See S.B. 490, 98th
Leg., Reg. Sess., P.A. No. 92 (Mich. 2016) (codified at M.C.L. § 445.1711, et seq.). The
May 2016 amendment to the PPPA, which became effective on July 31, 2016, does not
apply retroactively to claims that accrued prior to its July 31, 2016 effective date. See
Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y. 2016) (holding
that “the amendment to the [PP]PA does not apply to Plaintiffs’ claims, and the Court
will assess the sufficiency of those claims under the law as it was when Plaintiffs’ claims
accrued.”) (citing Landgraf v. USI Film Prods., 511 U.S. 224, 286 (1994)). Because the
claims alleged herein accrued, and thus vested, prior to the July 31, 2016 effective date
of the amended version of the PPPA, the pre-amendment version of the PPPA applies
in this case. See Horton v. GameStop, Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich. 2018).
                                             2
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See Exhibit A hereto.

      3.     By renting, exchanging, or otherwise disclosing the Private Reading

Information of its Michigan-based subscribers during the relevant pre-July 31, 2016

time period, Belvoir violated the PPPA. Subsection 2 of the PPPA provides:

            [A] person, or an employee or agent of the person, engaged
            in the business of selling at retail, renting, or lending books
            or other written materials . . . shall not disclose to any person,
            other than the customer, a record or information concerning
            the purchase . . . of those materials by a customer that
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             indicates the identity of the customer.

PPPA § 2.

      4.      Accordingly, Plaintiffs bring this Class Action Complaint against Belvoir

for its intentional and unlawful disclosure of its customers’ Private Reading Information

in violation of the PPPA.

                             NATURE OF THE CASE

      5.      To supplement its revenues, Belvoir rents, exchanges, or otherwise

discloses its customers’ information—including their full names, titles of publications

subscribed to (or purchased, in the case of books), and home addresses (collectively

“Private Reading Information”), as well as myriad other categories of individualized

data and demographic information such as gender—to data aggregators, data

appenders, data cooperatives, and other third parties without the written consent of its

customers.

      6.      By renting, exchanging, or otherwise disclosing – rather than selling – its

customers’ Private Reading Information, Belvoir is able to disclose the information time

and time again to countless third parties.

      7.      Belvoir’s disclosure of Private Reading Information and other

individualized information is not only unlawful, but also dangerous because it allows

for the targeting of particularly vulnerable members of society.

      8.      While Belvoir profits handsomely from the unauthorized rental,


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exchange, and/or disclosure of its customers’ Private Reading Information and other

individualized information, it does so at the expense of its customers’ statutory privacy

rights (afforded by the PPPA) because Belvoir does not obtain its customers’ written

consent prior to disclosing their Private Reading Information.

                                      PARTIES

       9.     Plaintiff Lee is a natural person and citizen and resident of the State of

Michigan. Plaintiff Lee was a subscriber to multiple publications published and sold by

Belvoir prior to July 31, 2016. While residing in, a citizen of, and present in Michigan,

Plaintiff Lee purchased his subscriptions to such Belvoir publications directly from

Belvoir. Prior to and at the time Plaintiff Lee purchased his subscriptions, Belvoir did

not notify Plaintiff Lee that it discloses the Private Reading Information of its

customers, and Plaintiff Lee has never authorized Belvoir to do so. Furthermore,

Plaintiff Lee was never provided any written notice that Belvoir rents, exchanges, or

otherwise discloses its customers’ Private Reading Information, or any means of opting

out. During the relevant pre-July 31, 2016 time period, Belvoir disclosed, without the

requisite consent or prior notice, Plaintiff Lee’s Private Reading Information to data

aggregators, data appenders, and/or data cooperatives, who then supplemented that

information with data from their own files. Moreover, during that same period, Belvoir

rented or exchanged mailing lists containing Plaintiff Lee’s Private Reading Information

to third parties seeking to contact Belvoir subscribers, without first obtaining the

requisite written consent from Plaintiff Lee or even giving him prior notice of the
                                           5
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rentals, exchanges, and/or other disclosures.

        10.    Plaintiff White is a natural person and citizen and resident of the State of

Michigan. Plaintiff White was a subscriber to multiple publications published and sold

by Belvoir prior to July 31, 2016. While residing in, a citizen of, and present in Michigan,

Plaintiff White purchased her subscriptions to such Belvoir publications directly from

Belvoir. Prior to and at the time Plaintiff White purchased her subscriptions, Belvoir

did not notify Plaintiff White that it discloses the Private Reading Information of its

customers, and Plaintiff White has never authorized Belvoir to do so. Furthermore,

Plaintiff White was never provided any written notice that Belvoir rents, exchanges, or

otherwise discloses its customers’ Private Reading Information, or any means of opting

out. During the relevant pre-July 31, 2016 time period, Belvoir disclosed, without the

requisite consent or prior notice, Plaintiff White’s Private Reading Information to data

aggregators, data appenders, and/or data cooperatives, who then supplemented that

information with data from their own files. Moreover, during that same period, Belvoir

rented or exchanged mailing lists containing Plaintiff White’s Private Reading

Information to third parties seeking to contact Belvoir subscribers, without first

obtaining the requisite written consent from Plaintiff White or even giving her prior

notice of the rentals, exchanges, and/or other disclosures.

        11.    Plaintiff VanDusen is a natural person and citizen and resident of the

State of Michigan. Plaintiff VanDusen was a subscriber to multiple publications

published and sold by Belvoir prior to July 31, 2016. While residing in, a citizen of, and
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present in Michigan, Plaintiff VanDusen purchased her subscriptions to such Belvoir

publications directly from Belvoir. Prior to and at the time Plaintiff VanDusen

purchased her subscriptions, Belvoir did not notify Plaintiff VanDusen that it discloses

the Private Reading Information of its customers, and Plaintiff VanDusen has never

authorized Belvoir to do so. Furthermore, Plaintiff VanDusen was never provided any

written notice that Belvoir rents, exchanges, or otherwise discloses its customers’

Private Reading Information, or any means of opting out. During the relevant pre-July

31, 2016 time period, Belvoir disclosed, without the requisite consent or prior notice,

Plaintiff VanDusen’s Private Reading Information to data aggregators, data appenders,

and/or data cooperatives, who then supplemented that information with data from

their own files. Moreover, during that same period, Belvoir rented or exchanged mailing

lists containing Plaintiff VanDusen’s Private Reading Information to third parties

seeking to contact Belvoir subscribers, without first obtaining the requisite written

consent from Plaintiff VanDusen or even giving her prior notice of the rentals,

exchanges, and/or other disclosures.

        12.    Plaintiff Allix is a natural person and citizen and resident of the State of

Michigan. Plaintiff Allix was a subscriber to multiple publications published and sold

by Belvoir prior to July 31, 2016. While residing in, a citizen of, and present in Michigan,

Plaintiff Allix purchased his subscriptions to such Belvoir publications directly from

Belvoir. Prior to and at the time Plaintiff Allix purchased his subscriptions, Belvoir did

not notify Plaintiff Allix that it discloses the Private Reading Information of its
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customers, and Plaintiff Allix has never authorized Belvoir to do so. Furthermore,

Plaintiff Allix was never provided any written notice that Belvoir rents, exchanges, or

otherwise discloses its customers’ Private Reading Information, or any means of opting

out. During the relevant pre-July 31, 2016 time period, Belvoir disclosed, without the

requisite consent or prior notice, Plaintiff Allix’s Private Reading Information to data

aggregators, data appenders, and/or data cooperatives, who then supplemented that

information with data from their own files. Moreover, during that same period, Belvoir

rented or exchanged mailing lists containing Plaintiff Allix’s Private Reading

Information to third parties seeking to contact Belvoir subscribers, without first

obtaining the requisite written consent from Plaintiff Allix or even giving him prior

notice of the rentals, exchanges, and/or other disclosures.

        13.    Plaintiff Welch is a natural person and citizen and resident of the State

of Michigan. Plaintiff Welch was a subscriber to multiple publications published and

sold by Belvoir prior to July 31, 2016. While residing in, a citizen of, and present in

Michigan, Plaintiff Welch purchased his subscriptions to such Belvoir publications

directly from Belvoir.     Prior to and at the time Plaintiff Welch purchased his

subscriptions, Belvoir did not notify Plaintiff Welch that it discloses the Private Reading

Information of its customers, and Plaintiff Welch has never authorized Belvoir to do

so. Furthermore, Plaintiff Welch was never provided any written notice that Belvoir

rents, exchanges, or otherwise discloses its customers’ Private Reading Information, or

any means of opting out. During the relevant pre-July 31, 2016 time period, Belvoir
                                            8
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disclosed, without the requisite consent or prior notice, Plaintiff Welch’s Private

Reading Information to data aggregators, data appenders, and/or data cooperatives,

who then supplemented that information with data from their own files. Moreover,

during that same period, Belvoir rented or exchanged mailing lists containing Plaintiff

Welch’s Private Reading Information to third parties seeking to contact Belvoir

subscribers, without first obtaining the requisite written consent from Plaintiff Welch

or even giving him prior notice of the rentals, exchanges, and/or other disclosures.

        14.    Defendant Belvoir Media Group, LLC is a Connecticut corporation with

its headquarters and principal place of business in Norwalk, Connecticut. Belvoir does

business throughout Michigan and the entire United States. Belvoir is the publisher and

seller of various consumer-oriented magazines, books, and health and wellness

newsletters, including but not limited to Dogster, CatWatch, Catnip, DOGWatch, Catster,

WholeDog Journal, Your Dog, Kitplanes, Practical Sailor, AVweb, Aviation Safety, IFR, The

Aviation Consumer, Mary Janes Farm, Women’s Health Advisor, Arthritis Advisor, Men’s Health

Advisor, University Health News, Heart Advisor, Men’s Health Watch, Women’s Health Watch,

Harvard Health Letter, Harvard Heart Letter, Women’s Nutrition Connection, Mind, Mood &

Memory, Environmental Nutrition, Health & Nutrition Letter, and HEALTHY Years.

                          JURISDICTION AND VENUE

      15.      This Court has subject matter jurisdiction over this civil action pursuant

to 28 U.S.C. § 1332(d) because there are more than 100 class members and the aggregate

amount in controversy exceeds $5,000,000, exclusive of interest, fees, and costs, and at
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least one Class member is a citizen of a state different from Defendant.

       16.      The Court has personal jurisdiction over Belvoir because Plaintiffs’

claims arose in substantial part from actions and omissions in Michigan, including from

Plaintiffs’ purchases of subscriptions to Belvoir publications in Michigan, Belvoir’s

direction of such subscriptions into Michigan, and Belvoir’s failure to obtain Plaintiffs’

written consent in Michigan prior to disclosing their Private Reading Information,

including their residential addresses in Michigan, to another person, the effects of which

were felt from within Michigan by citizens and residents of Michigan. Personal

jurisdiction also exists over Belvoir in Michigan because Belvoir conducts substantial

business within Michigan, such that Belvoir has significant, continuous, and pervasive

contacts with the State of Michigan.

       17.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

one or more of the Plaintiffs resides in this judicial District, Belvoir does substantial

business in this judicial District, Belvoir is subject to personal jurisdiction in this judicial

District, and a substantial part of the events giving rise to Plaintiffs’ claims took place

within this judicial District.

                                 FACTUAL BACKGROUND
                  Michigan’s Preservation of Personal Privacy Act
       18.      In 1988, members of the United States Senate warned that records of

consumers’ purchases and rentals of audiovisual and publication materials offer “a

window into our loves, likes, and dislikes,” and that “the trail of information generated
                                              10
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by every transaction that is now recorded and stored in sophisticated record-keeping

systems is a new, more subtle and pervasive form of surveillance.” S. Rep. No. 100-

599 at 7–8 (1988) (statements of Sens. Simon and Leahy, respectively).

      19.      Recognizing the need to further protect its citizens’ privacy rights,

Michigan’s legislature enacted the PPPA to protect “privacy with respect to the

purchase, rental, or borrowing of certain materials,” by prohibiting companies from

disclosing certain types of sensitive consumer information. H.B. No. 5331, 1988 Mich.

Legis. Serv. 378 (West).

      20.      Subsection 2 of the PPPA states:

             [A] person, or an employee or agent of the person, engaged
             in the business of selling at retail, renting, or lending books
             or other written materials . . . shall not disclose to any person,
             other than the customer, a record or information concerning
             the purchase . . . of those materials by a customer that
             indicates the identity of the customer.

PPPA § 2 (emphasis added).

      21.      Michigan’s protection of reading information reflects the “gut feeling

that people ought to be able to read books and watch films without the whole world

knowing,” and recognizes that “[b]ooks and films are the intellectual vitamins that fuel

the growth of individual thought. The whole process of intellectual growth is one of

privacy—of quiet, and reflection. This intimate process should be protected from the

disruptive intrusion of a roving eye.” S. Rep. No. 100–599, at 6 (Statement of Rep.

McCandless).

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       22.     As Senator Patrick Leahy recognized in proposing the Video and Library

Privacy Protection Act (later codified as the Video Privacy Protection Act, 18 U.S.C. §

2710), “[i]n practical terms our right to privacy protects the choice of movies that we

watch with our family in our own homes. And it protects the selection of books that

we choose to read.” 134 Cong. Rec. S5399 (May 10, 1988).

       23.     Senator Leahy also explained why choices in movies and reading

materials are so private: “These activities . . . reveal our likes and dislikes, our interests

and our whims. They say a great deal about our dreams and ambitions, our fears and

our hopes. They reflect our individuality, and they describe us as people.” Id.

       24.     Michigan’s passage of the PPPA also established as a matter of law “that

a person’s choice in reading, music, and video entertainment is a private matter, and

not a fit subject for consideration by gossipy publications, employers, clubs, or anyone

else for that matter.” Privacy: Sales, Rentals of Videos, etc., House Legislative Analysis

Section, H.B. No. 5331, Jan. 20, 1989 (attached hereto as Exhibit B).

       25.     Despite the fact that thousands of Michigan residents subscribe to

Belvoir’s publications, Belvoir disregarded its legal responsibility by systematically

violating the PPPA.

                        The Private Information Market:
                  Consumers’ Private Information Has Real Value

       26.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

Swindle remarked that “the digital revolution . . . has given an enormous capacity to
                                             12
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the acts of collecting and transmitting and flowing of information, unlike anything

we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being defined

by the existing data on themselves.”3

       27.     More than a decade later, Commissioner Swindle’s comments ring truer

than ever, as consumer data feeds an information marketplace that supports a $26

billion dollar per year online advertising industry in the United States.4

       28.     The FTC has also recognized that consumer data possesses inherent

monetary value within the new information marketplace and publicly stated that:

              Most consumers cannot begin to comprehend the types and
              amount of information collected by businesses, or why their
              information may be commercially valuable. Data is currency.
              The larger the data set, the greater potential for analysis—
              and profit. 5

       29.     In fact, an entire industry exists while companies known as data


3
       Exhibit C, The Information Marketplace: Merging and Exchanging Consumer
Data (Mar. 13, 2001), at 8:15-11:16, available at
https://www.ftc.gov/sites/default/files/documents/public_events/information-
marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited July
30, 2021).
4
         See Exhibit D, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
http://online.wsj.com/article/SB10001424052748703529004576160764037920274.ht
ml (last visited July 30, 2021).
5
        Exhibit E, Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7,
2009), at 2, available at
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30,
2021).
                                            13
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aggregators purchase, trade, and collect massive databases of information about

consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

information in an open and largely unregulated market.6

      30.      The scope of data aggregators’ knowledge about consumers is immense:

“If you are an American adult, the odds are that [they] know[] things like your age, race,

sex, weight, height, marital status, education level, politics, buying habits, household

health worries, vacation dreams—and on and on.” 7

      31.      Further, “[a]s use of the Internet has grown, the data broker industry has

already evolved to take advantage of the increasingly specific pieces of information

about consumers that are now available.”8

      32.      Recognizing the serious threat the data mining industry poses to

consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-Partisan



6
      See Exhibit F, Martha C. White, Big Data Knows What You’re Doing Right Now,
TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-knows-
what-youre-doing-right-now/ (last visited July 30, 2021).
7
       Exhibit G, Natasha Singer, You for Sale: Mapping, and Sharing, the Consumer
Genome, N.Y. Times (June 16, 2012), available at
https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N120
616S.pdf (last visited July 30, 2021).
8
      Exhibit H, Letter from Senator John D. Rockefeller IV, Chairman, Senate
Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
Executive Officer, Acxiom (Oct. 9, 2012) available at
http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
4157-a97b-a658c3c3061c (last visited July 30, 2021).

                                           14
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Privacy Caucus sent a letter to nine major data brokerage companies seeking

information on how those companies collect, store, and sell their massive collections

of consumer data.9

       33.      In their letter, the co-Chairmen recognized that “[b]y combining data

from numerous offline and online sources, data brokers have developed hidden

dossiers on every U.S. consumer,” which “raises a number of serious privacy

concerns.” 10

       34.      Data aggregation is especially troublesome when consumer information

is sold to direct-mail advertisers. In addition to causing waste and inconvenience,

direct-mail advertisers often use consumer information to lure unsuspecting consumers

into various scams, 11 including fraudulent sweepstakes, charities, and buying clubs.

Thus, when companies like Belvoir share information with data aggregators, data

cooperatives, and direct-mail advertisers, they contribute to the “[v]ast databases” of

consumer data that are often “sold to thieves by large publicly traded companies,”

which “put[s] almost anyone within the reach of fraudulent telemarketers” and other


9
       See Exhibit I, Bipartisan Group of Lawmakers Query Data Brokers About Practices
Involving Consumers’ Personal Information, Website of Senator Ed Markey (July 24, 2012),
http://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-
query-data-brokers-about-practices-involving-consumers-personal-information (last
visited July 30, 2021).
10
      Id.
11
      See  Exhibit     J,   Prize     Scams,    Federal     Trade       Commission,
http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).
                                          15
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criminals.12

       35.       Information disclosures like those made by Belvoir are particularly

dangerous to the elderly. “Older Americans are perfect telemarketing customers,

analysts say, because they are often at home, rely on delivery services, and are lonely

for the companionship that telephone callers provide.”13 The FTC notes that “[t]he

elderly often are the deliberate targets of fraudulent telemarketers who take advantage

of the fact that many older people have cash reserves or other assets to spend on

seemingly attractive offers.”14 Indeed, an entire black market exists where the private

information of vulnerable elderly Americans is exchanged.

       36.       Thus, information disclosures like Belvoir’s are particularly troublesome

because of their cascading nature: “Once marked as receptive to [a specific] type of

spam, a consumer is often bombarded with similar fraudulent offers from a host of

scam artists.” 15



12
        Exhibit K, Charles Duhigg, Bilking the Elderly, With a Corporate Assist, N.Y. Times,
May 20, 2007, available at http://www.nytimes.com/2007/05/20/business/20tele.html
(last visited July 30, 2021).
13
       Id.
14
       Exhibit L, Fraud Against Seniors: Hearing before the Senate Special Committee on Aging
(August 10, 2000) (prepared statement of the FTC), available at
https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf              (last
visited July 30, 2021).
15
       See id.
                                             16
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       37.     Belvoir is not alone in jeopardizing its subscribers’ privacy and well-being

in exchange for increased revenue: disclosing subscriber information to data

aggregators, data appenders, data cooperatives, direct marketers, and other third parties

is a widespread practice in the publishing industry.

       38.     Thus, as consumer data has become an ever-more valuable commodity,

the data mining industry has experienced rapid and massive growth. Unfortunately for

consumers, this growth has come at the expense of their most basic privacy rights.

              Consumers Place Monetary Value on Their Privacy and
               Consider Privacy Practices When Making Purchases

       39.     As the data aggregation and cooperative industry has grown, so too have

consumer concerns regarding the privacy of their information.

       40.     A recent survey conducted by Harris Interactive on behalf of TRUSTe,

Inc. showed that 89 percent of consumers polled avoid doing business with companies

who they believe do not protect their privacy online.16 As a result, 81 percent of

smartphone users polled said that they avoid using smartphone apps that they don’t

believe protect their privacy online. 17

       41.     Thus, as consumer privacy concerns grow, consumers are increasingly



16
       See Exhibit M, 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe,
http://www.theagitator.net/wp-
content/uploads/012714_ConsumerConfidenceReport_US1.pdf (last visited July 30,
2021).
17
       Id.
                                            17
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incorporating privacy concerns and values into their purchasing decisions and

companies viewed as having weaker privacy protections are forced to offer greater value

elsewhere (through better quality and/or lower prices) than their privacy- protective

competitors.

       42.      In fact, consumers’ private information has become such a valuable

commodity that companies are beginning to offer individuals the opportunity to sell

their information themselves.18

       43.      These companies’ business models capitalize on a fundamental tenet

underlying the consumer information marketplace: consumers recognize the economic

value of their private data. Research shows that consumers are willing to pay a premium

to purchase services from companies that adhere to more stringent policies of

protecting their data. 19

       44.      Thus, in today’s economy, individuals and businesses alike place a real,




18
       See Exhibit N, Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their
Personal    Data,     N.Y.      Times        (Feb.      12,     2012),  available     at
http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-
a-price-on-their-personal-data.html (last visited July 30, 2021).
19
        See Exhibit O, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy
Information on Purchasing Behavior, 22(2) Information Systems Research 254, 254 (2011),
discussed in European Network and Information Security Agency, Study on monetising
privacy (Feb. 27, 2012), available at https://www.enisa.europa.eu/activities/identity-and-
trust/library/deliverables/monetising-privacy (last visited July 30, 2021).
                                           18
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quantifiable value on consumer data and corresponding privacy rights.20

     Belvoir Unlawfully Rents, Exchanges, and Discloses Its Customers’ Private
                               Reading Information
         45.   Belvoir maintains a vast digital database comprised of its customers’

Private Reading Information.        Belvoir discloses its customers’ Private Reading

Information to data aggregators and appenders, who then supplement that information

with additional sensitive private information about each Belvoir customer, including

his or her gender. (See, e.g., Exhibit A).

         46.   Belvoir then rents and/or exchanges its mailing lists—which include

subscribers’ Private Reading Information identifying which individuals purchased

subscriptions to particular publications, and can include the sensitive information

obtained from data aggregators and appenders—to other data aggregators and

appenders, other consumer-facing businesses, non-profit organizations seeking to raise

awareness and solicit donations, and to political organizations soliciting donations,

votes, and volunteer efforts. (See Exhibit A).

         47.   Belvoir also discloses its customers’ Private Reading Information to data

cooperatives, who in turn give Belvoir access to their own mailing list databases.

         48.   As a result of Belvoir’s data compiling and sharing practices, companies


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        See Exhibit P, Hann, et al., The Value of Online Information Privacy: An Empirical
Investigation (Oct. 2003) at 2, available at
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&typ
e=pdf (last visited July 30, 2021) (“The real policy issue is not whether consumers
value online privacy. It is obvious that people value online privacy.”).
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can purchase and/or obtain mailing lists from Belvoir that identify Belvoir’s customers

by their most intimate details such as their gender. Belvoir’s disclosures of such

sensitive and private information puts consumers, especially the more vulnerable

members of society, at risk of serious harm from scammers.

      49.     Belvoir does not seek its customers’ prior consent, written or otherwise,

to any of these disclosures and its customers remain unaware that their Private Reading

Information and other sensitive information is being rented and exchanged on the open

market.

      50.     Consumers can sign up for subscriptions to Belvoir’s publications

through numerous media outlets, including the Internet, telephone, or traditional mail.

Regardless of how the consumer subscribes, Belvoir has never required the individual

to read or affirmatively agree to any terms of service, privacy policy, or information-

sharing policy during the relevant pre-July 31, 2016 time period. Consequently, during

the relevant pre-July 31, 2016 time period, Belvoir uniformly failed to obtain any form

of consent from – or even provide effective notice to – its customers before disclosing

their Private Reading Information.

      51.     As a result, Belvoir disclosed its customers’ Private Reading Information

– including their reading habits and preferences that can “reveal intimate facts about




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our lives, from our political and religious beliefs to our health concerns”21 – to anybody

willing to pay for it.

       52.      By and through these actions, Belvoir has intentionally disclosed to third

parties its Michigan customers’ Private Reading Information without consent, in direct

violation of the PPPA.

                         CLASS ACTION ALLEGATIONS

       53.    Plaintiffs seek to represent a class defined as all Michigan residents who,

at any point during the relevant pre-July 31, 2016 time period, had their Private Reading

Information disclosed to third parties by Belvoir without consent (the “Class”).

Excluded from the Class is any entity in which Defendant has a controlling interest,

and officers or directors of Defendant.

       54.    Members of the Class are so numerous that their individual joinder herein

is impracticable. On information and belief, members of the Class number in the

thousands. The precise number of Class members and their identities are unknown to

Plaintiffs at this time but may be determined through discovery. Class members may

be notified of the pendency of this action by mail and/or publication through the

distribution records of Defendant.

       55.    Common questions of law and fact exist as to all Class members and



21
       Exhibit Q, California’s Reader Privacy Act Signed into Law, Electronic Frontier
Foundation (Oct. 3, 2011), https://www.eff.org/press/archives/2011/10/03 (last
visited July 30, 2021).
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predominate over questions affecting only individual Class members. Common legal

and factual questions include, but are not limited to: (a) whether Belvoir is a “retailer or

distributor” of magazines, newsletters, and books; (b) whether Belvoir obtained consent

before disclosing to third parties Plaintiffs’ and the Class’s Private Reading Information;

and (c) whether Belvoir’s disclosures of Plaintiffs’ and the Class’s Private Reading

Information violated the PPPA.

       56.    The claims of the named Plaintiffs are typical of the claims of the Class in

that the named Plaintiffs and the Class suffered invasions of their statutorily protected

right to privacy (as afforded by the PPPA) as a result of Defendant’s uniform wrongful

conduct, based upon Defendant’s disclosure of Plaintiffs’ and the Class’s Private

Reading Information.

       57.    Plaintiffs are adequate representatives of the Class because their interests

do not conflict with the interests of the Class members they seek to represent, they have

retained competent counsel experienced in prosecuting class actions, and they intend

to prosecute this action vigorously. The interests of Class members will be fairly and

adequately protected by Plaintiffs and their counsel.

       58.    The class mechanism is superior to other available means for the fair and

efficient adjudication of the claims of Class members. Each individual Class member

may lack the resources to undergo the burden and expense of individual prosecution of

the complex and extensive litigation necessary to establish Defendant’s liability.


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Individualized litigation increases the delay and expense to all parties and multiplies the

burden on the judicial system presented by the complex legal and factual issues of this

case. Individualized litigation also presents a potential for inconsistent or contradictory

judgments.      In contrast, the class action device presents far fewer management

difficulties and provides the benefits of single adjudication, economy of scale, and

comprehensive supervision by a single court on the issue of Defendant’s liability. Class

treatment of the liability issues will ensure that all claims and claimants are before this

Court for consistent adjudication of the liability issues.

                                CAUSE OF ACTION
             Violation of Michigan’s Preservation of Personal Privacy Act
                                     (PPPA § 2)

       59.     Plaintiffs repeat the allegations contained in the foregoing paragraphs as

if fully set forth herein.

       60.     Plaintiffs bring this claim individually and on behalf of members of the

Class against Defendant Belvoir.

       61.     As a magazine, book, and newsletter publisher that sells magazine and

newsletter subscriptions and books to consumers, Belvoir is engaged in the business of

selling written materials at retail. See PPPA § 2.

       62.     By purchasing subscriptions to Belvoir’s publications, each of the

Plaintiffs purchased written materials directly from Belvoir. See PPPA § 2.

       63.     Because Plaintiffs purchased written materials directly from Belvoir, they


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are each a “customer” within the meaning of the PPPA. See PPPA § 1.

       64.    At various times during the pre-July 31, 2016 time period, Belvoir

disclosed Plaintiffs’ Private Reading Information, which identified each of them as a

customer who purchased particular Belvoir publications, in at least three ways.

       65.    First, Belvoir disclosed mailing lists containing Plaintiffs’ Private Reading

Information to data aggregators and data appenders, who then supplemented the

mailing lists with additional sensitive information from their own databases, before

sending the mailing lists back to Belvoir.

       66.    Second, Belvoir disclosed mailing lists containing Plaintiffs’ Private

Reading Information to data cooperatives, who in turn gave Belvoir access to their own

mailing list databases.

       67.    Third, Belvoir rented and/or exchanged its mailing lists containing

Plaintiffs’ Private Reading Information—enhanced with additional information from

data aggregators and appenders—to third parties, including other consumer-facing

companies, direct-mail advertisers, and organizations soliciting monetary contributions,

volunteer work, and votes.

       68.    Because the mailing lists included the additional information from the data

aggregators and appenders, the lists were more valuable, and Belvoir was able to

increase its profits gained from the mailing list rentals and/or exchanges.

       69.    By renting, exchanging, or otherwise disclosing its customer lists, during


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the relevant pre-July 31, 2016 time period, Belvoir disclosed to persons other than

Plaintiffs records or information concerning their purchases of written materials from

Belvoir. See PPPA § 2.

       70.    The information Belvoir disclosed indicates Plaintiffs’ names and

addresses, as well as the fact that each of them subscribed to particular Belvoir

publications. Accordingly, the records or information disclosed by Belvoir indicated

Plaintiffs’ identities. See PPPA § 2.

       71.    Plaintiffs and the members of the Class never consented to Belvoir

disclosing their Private Reading Information to anyone.

       72.    Worse yet, Plaintiffs and the members of the Class did not receive notice

before Belvoir disclosed their Private Reading Information to third parties.

       73.    Belvoir’s disclosures of Plaintiffs’ and the Class’s Private Reading

Information during the relevant pre-July 31, 2016 time period were not made pursuant

to a court order, search warrant, or grand jury subpoena.

       74.    Belvoir’s disclosures of Plaintiffs’ and the Class’s Private Reading

Information during the relevant pre-July 31, 2016 time period were not made to collect

payment for their subscriptions.

       75.    Belvoir’s disclosures of Plaintiffs’ Private Reading Information during the

relevant pre-July 31, 2016 time period were made to data aggregators, data appenders,

data cooperatives, direct-mail advertisers, and organizations soliciting monetary


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contributions, volunteer work, and votes—all in order to increase Belvoir’s revenue.

Accordingly, Belvoir’s disclosures were not made for the exclusive purpose of

marketing goods and services directly to Plaintiffs and the members of the Class.

      76.    By disclosing Plaintiffs’ and the Class’s Private Reading Information

during the relevant pre-July 31, 2016 time period, Belvoir violated Plaintiffs’ and the

Class’s statutorily protected right to privacy in their reading habits. See PPPA § 2.

      77.    As a result of Belvoir’s unlawful disclosure of their Private Reading

Information, Plaintiffs and the members of the Class have suffered invasions of their

statutorily protected right to privacy (afforded by the PPPA). On behalf of themselves

and the Class, Plaintiffs seek: (1) $5,000.00 to each of the Plaintiffs and each Class

member pursuant to PPPA § 5(a); and (2) costs and reasonable attorneys’ fees pursuant

to PPPA § 5(b).

                               PRAYER FOR RELIEF
      WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

situated, seek a judgment against Defendant as follows:

              A.     For an order certifying the Class under Rule 23 of the Federal
                     Rules of Civil Procedure and naming Plaintiffs as
                     representatives of the Class and Plaintiffs’ attorneys as Class
                     Counsel to represent the Class;

               B.    For an order declaring that Defendant’s conduct as described
                     herein violated the Preservation of Personal Privacy Act;

               C.    For an order finding in favor of Plaintiffs and the Class on all
                     counts asserted herein;

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              D.     For an award of $5,000 to each of the Plaintiffs and each Class
                     member, as provided by the Preservation of Personal Privacy
                     Act, PPPA § 5(a);

              E.     For prejudgment interest on all amounts awarded; and

              F.     For an order awarding Plaintiffs and the Class their
                     reasonable attorneys’ fees and expenses and costs of suit.
                                  JURY DEMAND
      Plaintiffs demand a trial by jury on all causes of action and issues so triable.

Dated: September 12, 2022                Respectfully submitted,

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